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m State Bar
7 of Georgia Office of the General Counsel

PAULA J. FREDERICK
General Counsel

MERCEDES G. BALL

LEIGH BURGESS

WILLIAM V. HEARNBURG, JR.
JAMES S, LEWIS

JENNY EK. MITTELMAN
ARDREEA N. MORRISON
ADRIENNE D. RABE

WILLIAM DB. HESMITH, 17
WOLANDA RK. SHELTOR
JOHE J. SHIPTENRO

February 17,2021
CONFIDENTIAL ~
Mr. Ted Kurt
418 W, Dudley Street
Maumee, OH 43537

Re: Grievance filed against Mr. L. Lin Wood, Jr., Bar #774588
Dear Mr. Kurt:

Thank you for submitting your grievance with the Office of the General Counsel of the
State Bar of Georgia, We have carefully reviewed the documentation that you submitted
regarding attorney L. Lin Wood,

Please be advised, the State Disciplinary Board has issued a comprehensive grievance
addressing concerns similar to those in your submission, and an investigation is currently being
conducted based upon that grievance. For this reason, our office will not continue the
investigation of the named attorney based upon the grievance that you filed, and the grievance is
now closed.

Thank you for taking the time to prepare and submit your grievance. We appreciate the
information you have provided to our office.

Sincerely yours,
Pawia J. Frederick
General Counsel

PiF/dmg /
cc: L. Lin Wood

104 Marietta St. NW, Suite 100 - Atlanta, GA 30303-2743 - 404-527-8720 - Fax 404-527-8744 -
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February 17, 2021
CONFIDE
Mr. John V. Bellocchio
179 Holt St.
Hackensack, NJ 07601

Re: Grievance filed against Mr. L. Lin Wood, Jr, Bar #774588

Dear Mr. Bellocchio-

Thank you for submitting your grievance with the Office of the General Counsel of the
State Bar of Georgia. We have carefully reviewed the documentation that you submitted
regarding attorney L. Lin Wood.

now closed,

Thank you for taking the time to prepare and submit your grievance. We appreciate the
information you have provided to our office.

Sincerely yours,
Paula J. Frederick
General Counsel
PYF/dmg
co; OL. Lin Wood

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